873 F.2d 1440Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Samuel Lee OLIVER, Petitioner-Appellant,v.U.S. PAROLE COMMISSION, United States Federal Bureau ofPrisons, Central Office, Respondents-Appellees.
    No. 87-7763.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 27, 1989.Decided April 18, 1989.
    
      Samuel Lee Oliver, appellant pro se.
      James Gordon Carpenter, Office of the United States Attorney, for appellees.
      Before WIDENER, MURNAGHAN, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Samuel Lee Oliver appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Oliver v. U.S. Parole Commission, C/A No. 86-1038-CRT (E.D.N.C. Oct. 27, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    